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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,



             v.                                      DECISION AND ORDER
                                                         11-CR–151

JORDAN HIDALGO, et al,
                                Defendants.



                                   Introduction

      Before the Court are: (1) objections by defendants Kasiem Williams,

Jordan Hidalgo, Joseph Whitely, Ritchie Juarbe and Luis Medina to various

Reports and Recommendations by Magistrate Judge H. Kenneth Schroeder, Jr.;

(2) appeals by defendants Brittany Ground and Alejandro Navarro-Gonzalez to

Decisions and Orders by Magistrate Judge Schroeder; and (3) defendant David

Tirado’s motion to preclude or limit expert testimony as to firearms. Also pending

before the Court are various Reports and Recommendations to which no

objections have been made.

      As explained below, the findings and recommendations of the Magistrate

Judge are adopted in their entirety, and defendants Navarro-Gonzalez and

Brittany Grounds’ appeals are denied. Defendant Tirado’s motion to preclude or

limit expert testimony is held in abeyance pending the Government’s filing of a

detailed written summary of any expert testimony it will seek to introduce at trial
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pursuant to Federal Rules of Evidence 702, 703 and 705.



                                  Background

      A multi-count Superseding Indictment filed on May 24, 2012 alleges that

individuals involved in Cheko’s Crew (also referred to as the Puerto Rican

Dynasty) and the Seventh Street Gang together formed a criminal organization

whose members and associates engaged in drug dealing and various acts of

violence including murder, attempted murder, robbery and assault. (Dkt. No. 87)

Charges contained in the Superseding Indictment include racketeering

conspiracy, murder and attempted murder in aid of racketeering, assault with a

dangerous weapon in aid of racketeering, robbery, narcotics conspiracy and other

drug-related offenses, and various charges relating to the use and discharge of

firearms. Eighteen defendants were charged in the Superseding Indictment.

      The matter was referred to Magistrate Judge H. Kenneth Schroeder, Jr. for

supervision of all pretrial proceedings. A plethora of motions were made before

the Magistrate Judge, and a number of evidentiary hearings and oral arguments

were held. Magistrate Judge Schroeder then issued various Reports and

Recommendations and Decisions and Orders as to pretrial issues. Objections

and appeals by some defendants followed. As of the date of this Decision and

Order, seven defendants in this case have entered into plea agreements with the




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Government.1 The Court’s findings with respect to the remaining defendants’

objections and appeals, and other outstanding Reports and Recommendations by

the Magistrate Judge, are discussed below.



                                     Discussion

      Kasiem Williams

      Defendant Williams is charged with racketeering conspiracy, murder and

attempted murder in aid of racketeering, assault in aid of racketeering, narcotics

conspiracy, possession of firearms in furtherance of drug trafficking, and using

and maintaining a premises for drug trafficking. Defendant Williams filed a

motion to suppress various statements he made to law enforcement on multiple

occasions. After conducting evidentiary hearings, Magistrate Judge Schroeder

wrote a thorough, detailed, 42-page Report and Recommendation recommending

that defendant Williams’ motion to suppress be denied in its entirety. (Dkt. No.

378) Defendant filed objections, the Government filed a response, and the Court

considered the matter submitted following oral argument.

          Pursuant to 28 U.S.C. § 636(b)(1), this Court must make a de novo

determination of those portions of the Report and Recommendation to which

objections have been made. Upon de novo review and after reviewing the


      1
       Defendants that have pled guilty include Efrain Hidalgo, Thomas Rodriguez,
Juan Torres, Jason Dryzmala, Uda Hidalgo, Cecelio Medina and Carmen Geter.

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submissions of the parties and hearing oral argument, the Court adopts the

proposed findings of the Report and Recommendation.

      The Second Circuit has instructed that where a Magistrate Judge conducts

an evidentiary hearing and makes credibility findings on disputed issues of fact,

the district court will ordinarily accept those credibility findings. See Carrion v.

Smith, 549 F.3d 583, 588 (2d Cir. 2008) (“[A] district judge should normally not

reject a proposed finding of a magistrate judge that rests on a credibility finding

without having the witness testify before the judge.”) (quoting Cullen v. United

States, 194 F.3d 401, 407 (2d Cir. 1999)).

      This Court adopts the credibility findings of Magistrate Judge Schroeder,

including his findings that defendant Williams’ statements while in the hospital on

July 10, 2009 were voluntary and that defendant was not in custody at that time.

The Court adopts the Magistrate Judge’s credibility findings as to the interview of

defendant on July 8, 2010 including his findings that: (1) when defendant initially

arrived at the police station and made statements he was not in custody; (2) that

after his arrest defendant was advised of his Miranda rights; and (3) that at best

defendant made a “limited invocation” of his right to counsel. This Court also

concurs with Magistrate Judge Schroeder’s finding that there is no basis to

suppress any statements from the proffer session as a result of ineffective

assistance of counsel.

      Accordingly, for the reasons set forth in Magistrate Judge Schroeder’s

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Report and Recommendation, defendant Williams’ motion to suppress evidence

is denied in its entirety.

       Defendant Williams also moved to dismiss Count 1 of the Superseding

Indictment, charging racketeering conspiracy, on the basis that Count 1 does not

properly allege a pattern of racketeering activity. Magistrate Judge Schroeder

issued a thorough Report and Recommendation recommending denial of the

motion to dismiss. (Dkt. No. 382) No objections by defendant Williams were

filed. For the reasons set forth in Magistrate Judge Schroeder’s Report and

Recommendation, defendant Williams’ motion to dismiss is denied.2

       Jordan Hidalgo

       Defendant Jordan Hidalgo is charged with racketeering conspiracy, murder

and attempted murder in aid of racketeering, possession and discharge of

firearms in furtherance of a crime of violence, narcotics conspiracy, robbery,

possession of firearms in furtherance of drug trafficking and using and

maintaining a premises for drug trafficking. Defendants Efrain Hidalgo and Uda

Hidalgo filed motions to dismiss Count 1 (racketeering conspiracy) and Counts 2

through 22 (all relating to violent crime in aid of racketeering) for vagueness.




       2
         To accept the Report and Recommendation of a magistrate, to which no
objection has been made, a district court need only satisfy itself that there is “no clear
error on the face of the record.” Torres v. New York, 976 F. Supp. 249 (SDNY 1997).

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Defendant Jordan Hidalgo joined in those motions.3

       Magistrate Judge Schroeder issued Reports and Recommendations

denying defendants Efrain Hidalgo and Uda Hidalgo’s motions to dismiss. (Dkt.

Nos. 397 and 418) Defendants Efrain Hidalgo and Uda Hidalgo filed objections,

and defendant Jordan Hidalgo joined in the objections. (Dkt. No. 465) After

responses from the Government and oral argument, the Court considered the

matter submitted.

       Pursuant to 28 U.S.C. § 636(b)(1), this Court must make a de novo

determination of those portions of the Report and Recommendation to which

objections have been made. Upon de novo review and after reviewing the

submissions of the parties and hearing oral argument, the Court adopts the

proposed findings of the Reports and Recommendations.4 For the reasons set

forth in Magistrate Judge Schroeder’s Reports and Recommendations (Dkt. Nos.

397 and 418), defendant Jordan Hidalgo’s motion to dismiss is denied in its

entirety.



       3
         As previously stated, defendants Efrain Hidalgo and Uda Hidalgo have entered
into plea agreements with the Government. Therefore, while their motions to dismiss
are now moot as to their own cases, the arguments raised therein remain relevant as to
defendant Jordan Hidalgo.
       4
         While Efrain Hidalgo and Uda Hidalgo’s objections are moot as to their own
cases, the Court has considered all of the substantive arguments made by defendants
Efrain Hidalgo and Uda Hidalgo in their objections, which were joined and adopted by
Jordan Hidalgo, in making its determination as to Jordan Hidalgo’s motion to dismiss.


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      Joseph Whitely

      Defendant Whitely is charged with racketeering conspiracy, narcotics

conspiracy, and possession of firearms in furtherance of drug trafficking.

Defendant filed a number of pretrial motions before the Magistrate Judge

including a motion to suppress statements and a motion to dismiss Count 1 of the

Superseding Indictment.

      Magistrate Judge Schroeder issued a Report and Recommendation

recommending denial of defendant Whitely’s motion to suppress statements.

(Dkt. No. 379) No objections were filed by defendant. For the reasons set forth

in the Report and Recommendation, defendant’s motion to suppress is denied.

      Magistrate Judge Schroeder also issued a Report and Recommendation

recommending denial of defendant’s motion to dismiss Count 1. (Dkt. No 388)

Defendant Whitely filed objections (Dkt. 468), and the Government filed a

response (Dkt. 482). Oral argument was scheduled and adjourned as a result of

an issue arising with defendant’s representation. On March 23, 2015, attorney

Herbert Greenman was appointed by the Court to represent defendant Whitely.5

Mr. Greenman renewed the objections filed by defendant Whitely’s previous

counsel, and joined in defendant Uda Hidalgo’s objections to the denial of the

motion to dismiss. Specifically, in joining defendant Uda Hidalgo’s objections and

      5
        Prior to this time, defendant Whitely had retained attorney Angelo Musitano to
represent him. However, an issue arose preventing Mr. Musitano from continuing to
represent defendant Whitely.

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filing supplemental objections (Dkt. No. 576), defendant Whitely argues that

Count 1 is void both for vagueness and vagueness-as-applied. Defendant

contends, in sum, that the Superseding Indictment merely tracks the language of

the racketeering statute without providing specifics as to his alleged conduct.

The Government filed a response, and the Court considered all of the objections

submitted without oral argument.

      Pursuant to 28 U.S.C. § 636(b)(1), this Court must make a de novo

determination of those portions of the Report and Recommendation to which

objections have been made. Upon de novo review and after reviewing the

submissions of the parties, the Court rejects the objections filed by defendant

Whitely’s original attorney. (Dkt. No. 468) The Court adopts the proposed

findings of the Report and Recommendation (Dkt. No. 388), which recommends

denial of defendant’s motion to dismiss Count 1 for facial insufficiency and failure

to state an offense.

      As to the supplemental objections (Dkt. No. 576), the Court rejects

defendant Whitely’s vagueness and vagueness-as-applied arguments. The

Second Circuit has held that the racketeering statute is not unconstitutionally

vague. United States v. Burden, 600 F.3d 204, 228 (2d. Cir. 2010); see Kolender

v. Lawson, 461 U.S. 352, 357 (1983) (the void-for-vagueness doctrine requires

that a penal statute “define the criminal offense with sufficient definiteness that

ordinary people can understand what conduct is prohibited and in a manner that

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does not encourage arbitrary and discriminatory enforcement”). Further, the

Government is required to prove only the existence of an agreement to violate

RICO’s substantive provisions.

      The Court finds that the allegations set forth in the Superseding Indictment

are not vague in any manner, and that they meet the requirements of what is

necessary to properly allege a racketeering conspiracy as established by the

Supreme Court and the Second Circuit. The allegations provide all defendants,

including defendant Whitely, notice of the conduct for which they are charged.

The Supreme Court has held that an “association-in-fact enterprise” is simply a

“continuing unit that functions with a common purpose.” Boyle v. United States,

556 U.S. 938, 948 (2009). The Superseding Indictment describes the enterprise

here as an “alliance based on friend and familial associations, close physical

proximity to one another and due to their shared rivalry with 10th Street Gang.”

The Superseding Indictment further alleges that “[t]he principal purpose of the

enterprise was to control territory on the West Side of Buffalo, distribute

controlled substances, obtain money and things of value, and earn and maintain

respect in the neighborhood.” To achieve these objective, it is alleged that the

members of the enterprise, including defendant Whitely, conspired to commit acts

of violence and murder, threatened acts of violence and engaged in trafficking of

controlled substances.

      For the reasons set forth in Magistrate Judge Schroeder’s Report and

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Recommendations (Dkt. Nos. 388, 379, 418), and for the reasons discussed

herein, defendant Joseph Whitely’s motion to dismiss Count I of the Superseding

Indictment is denied in its entirety.

      Ritchie Juarbe

      Defendant Juarbe is charged with racketeering conspiracy, murder,

attempted murder, possession and discharge of a firearm in furtherance of a

crime of violence, narcotics conspiracy, possession of firearms in furtherance of

drug trafficking, and maintaining a premises for purposes of drug trafficking.

Defendant Juarbe filed a motion to suppress evidence resulting from: (1) a search

of his residence at 45 Lakeview on March 9, 2008; (2) a stop of his automobile on

February 20, 2009; and (3) a search of his residence at 41-1/2 West Tupper on

April 13, 2012. (Dkt. No. 262) Defendant also sought suppression of statements

he made to law enforcement officers on April 13, 2012. (Dkt. No. 302)

Magistrate Judge Schroeder conducted a two-day evidentiary hearing as to these

issues.

      Magistrate Judge Schroeder issued a detailed, 42-page Report and

Recommendation recommending that defendant Juarbe’s motion to suppress the

use of photographs, cell phones, T-shirts, memorial cards and a box of

ammunition seized from his residence at 41-1/2 West Tupper Street on April 13,

2012 be granted, and that all remaining aspects of defendant’s motion to

suppress be denied. (Dkt. No. 352) Both the Government and defendant Juarbe

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filed objections to the Magistrate Judge’s Report and Recommendation. (Dkt.

Nos. 361 and 472) The Government responded to defendant’s objections (Dkt.

No. 479), and oral argument was heard before this Court.

        Pursuant to 28 U.S.C. § 636(b)(1), this Court must make a de novo

determination of those portions of the Report and Recommendation to which

objections have been made. Upon de novo review and after reviewing the

submissions of the parties and hearing oral argument, the Court adopts the

proposed findings of the Report and Recommendation. With respect to the guns

recovered from defendant Juarbe’s bedroom on April 13, 2012, the Court notes

that because Magistrate Judge Schroeder credited the officers’ testimony that

they entered defendant’s bedroom to retrieve his clothes and the guns were in

plain view, the guns would have inevitably been discovered by the officers. See

United States v. DiStefeno, 555 F.2d 1094, 1101 (2d. Cir. 1977) (when a person

is arrested pursuant to a warrant and they are only partially clothed, arresting

agents may have a duty to find clothing for the person, and may conduct a limited

search for clothing); Minnesota v. Dickerson, 508 U.S. 366, 375 (1993) (“[I]f

police are lawfully in a position from which they view an object, if its incriminating

character is immediately apparent, and if the officers have a lawful right of access

to the object, they may seize it without a warrant.”) For this reason and for all of

the reasons enumerated by Magistrate Judge Schroeder as to the validity of the

other various searches and seizures, defendant Juarbe’s objections are rejected.

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      The Court also rejects the Government’s argument that the t-shirts, funeral

cards, photographs and ammunition seized from defendant’s bedroom, as well as

the photographs of defendant’s apartment taken by the officers, should not be

suppressed. The Second Circuit has explained that the following three conditions

must be met for a plain view seizure to be lawful: (1) the initial intrusion must be

lawful; (2) there must be an inadvertent discovery of the item seized; and (3)

there must exist probable cause to believe that the seized item was evidence of a

crime. United States v. Barrios-Moiera, 872 F.2d 12, 15-16 (2d. Cir. 1998). The

Court credits Magistrate Judge Schroeder’s assessment that there was no

testimony in the record that the ammunition was in plain view. In addition, Officer

Galle testified that he did not know the individual on the funeral card but that he

took it “out of an abundance of caution.” In addition, Officer Galle testified that he

seized the cell phones “in the event they later obtained a warrant to go through

the phones.” Based upon this testimony, it does not appear that the funeral card

or the cell phones had an incriminating character that was immediately apparent

or that there was probable cause to believe they were evidence of criminality.

Likewise, the Court finds that while the t-shirts and photographs may have

depicted alleged gang signs or gang members, it cannot be said that the items

were obviously and directly connected to criminal activity, nor were they

dangerous items or contraband. The Court is in agreement with the Magistrate

Judge that there is no reason the officers could not have secured the premises

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and returned for a search warrant. Indeed, while there is testimony in the record

that the t-shirts and photographs were in plain view, it is equally clear that the

officers had to take a careful look around the apartment which was more akin to

an exploratory search than a sweep for weapons. See United States v. George,

975 F.2d 72, 80 (2d. Cir. (1992) (the plain view search doctrine does not

authorize “a general exploratory search from one object to another until an

incriminating item turns up”).

      For the reasons set forth in Magistrate Judge Schroeder’s Report and

Recommendation (Dkt. Nos. 352), and for the reasons stated herein, defendant

Juarbe’s motion to suppress the use of photographs, cell phones, T-shirts,

memorial cards and a box of ammunition seized from his residence at 41-1/2

West Tupper Street on April 13, 2012 is granted, and all remaining aspects of

defendant’s motion to suppress are denied.

      Brittany Ground

      Defendant Ground is charged with racketeering conspiracy, assault with a

dangerous weapon in aid of racketeering, attempted murder in aid of

racketeering, possession and discharge of a firearm in furtherance of a crime of

violence, narcotics conspiracy, and possession of a firearm in furtherance of a

drug trafficking crime. Defendant filed a motion to dismiss the Superseding

Indictment on the grounds that evidence presented to the grand jury was

insufficient, or, in the alternative, for review of the grand jury minutes. (Dkt. No.

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199) Magistrate Judge Schroeder issued a Report and Recommendation

recommending denial of defendant’s motion in its entirety. (Dkt. No. 432) No

objections were filed. For the reasons set forth in the Report and

Recommendation, defendant Ground’s motion to dismiss, or, in the alternative,

for review of the grand jury minutes, is denied.

      Defendant also moved, before the Magistrate Judge, for a bill of particulars.

(Dkt. No. 206) The Magistrate Judge denied defendant’s request, finding that the

Superseding Indictment, together with the discovery materials provided or to be

provided by the Government, clearly inform defendant of the essential facts of the

crime charged. (Dkt. No. 433) Defendant Ground appealed the denial (Dkt. No.

445), and the Government filed a response (Dkt. No. 480). Oral argument was

scheduled by the Court, however defense counsel was not present. The Court

then considered the matter submitted without oral argument.

      With respect to the magistrate judge’s orders on non-dispositive motions

such as a request for a bill of particulars, this Court considers only whether the

magistrate’s orders are clearly erroneous or contrary to law pursuant to 28 U.S.C.

Section §636(b)(1)(A). After reviewing all of the papers submitted, the Court finds

that Magistrate Judge Schroeder’s denial of defendant Ground’s request for a bill

of particulars was neither clearly erroneous nor contrary to law. Thus,

defendant’s appeal from that order is denied.




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      Luis Medina

      Defendant Luis Medina is charged with racketeering conspiracy, narcotics

conspiracy, possession of firearms in furtherance of drug trafficking and

distribution of heroin. Defendant moved to dismiss Count 1 of the Superseding

Indictment, charging racketeering conspiracy, and for disclosure of grand jury

material. (Dkt. No. 210) Magistrate Judge Schroeder issued a Report and

Recommendation recommending denial of those motions. (Dkt. No. 422) No

objections were filed. For the reasons set forth in the Report and

Recommendation, defendant Medina’s motion to dismiss Count 1 and his request

for grand jury transcripts is denied.

      Defendant Medina also moved for an order suppressing statements or, in

the alternative, for an evidentiary hearing. (Dkt. No. 261) Magistrate Judge

Schroeder issued a Report and Recommendation recommending that defendant

Medina’s motion be denied, since it lacked an accompanying factual affidavit by

someone with personal knowledge as well as particularization of statements to be

suppressed. (Dkt. No. 423) Defendant submitted objections wherein he stated,

among other things, that the Government filed a notice, pursuant to Federal Rule

of Criminal Procedure 12(b), of intent to withdraw regarding use of defendant’s

April 23, 2006 statement. (Dkt. No. 45) The Government filed a response

indicating that use of the April 23, 2006 statements was indeed moot, but that

there are no grounds to suppress any other statements made by defendant. (Dkt.

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No. 471)

      Pursuant to 28 U.S.C. § 636(b)(1), this Court must make a de novo

determination of those portions of the Report and Recommendation to which

objections have been made. Upon de novo review, the Court finds that based

upon the Government’s notice, defendant Medina’s motion to suppress his April

23, 2006 is granted. For the reasons set forth in Magistrate Judge Schroeder’s

Report and Recommendation, defendant’s motion to suppress is denied insofar

as it applies to any other statements.

      Alejandro Navarro-Gonzalez

      Defendant Navarro-Gonzalez is charged with narcotics conspiracy and

possession of firearms in furtherance of a drug trafficking crime. Defendant

moved for a detailed bill of particulars. (Dkt. No. 213) The Magistrate Judge

issued a Decision and Order denying the request, on the grounds that Counts 24

and 25 of the Superseding Indictment, together with the discovery materials

provided and to be provided by the Government, clearly inform defendant of the

essential facts of the crime. (Dkt. No. 428) Defendant appealed the

determination (Dkt. No. 441), and the Government filed a reply (Dkt. No. 470).

The Court considered the matter submitted without oral argument. After

reviewing all submissions, the Court finds that Magistrate Judge Schroeder’s

order denying defendant Navarro-Gonzalez’s request for a bill of particulars was

neither clearly erroneous nor contrary to law. Defendant’s appeal is denied.

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      Sammy Ortiz

      Defendant Ortiz is charged with racketeering conspiracy, narcotics

conspiracy, possession of firearms in furtherance of drug trafficking and

distribution of cocaine. Following an evidentiary hearing, Magistrate Judge

Schroeder issued a Report and Recommendation recommending denial of

defendant Ortiz’s motion to suppress statements on the basis that he was not

advised of his Miranda rights. (Dkt. No. 334) Magistrate Judge Schroeder also

issued a Report and Recommendation recommending denial of defendant Ortiz’s

motion to dismiss Count 1 of the Superseding Indictment and to suppress

evidence seized during vehicle stops in which defendant was a passenger. (Dkt.

No. 333) No objections were filed by defendant. Upon review of the motions,

responses, and the Report and Recommendations, the Court adopts the findings

and conclusions of the Magistrate Judge in their entirety. Defendant Ortiz’s

motions to suppress statements, evidence and to dismiss Count 1 are denied.

      Esteban Ramos-Cruz

      Defendant Ramos-Cruz is charged with racketeering conspiracy,

possession and discharge of a firearm in furtherance of a crime of violence,

murder in aid of racketeering, narcotics conspiracy, possession of firearms in

furtherance of a drug trafficking crime, and using and maintaining a premises for

drug trafficking. Defendant moved to suppress a single photo identification and

photo array, as well as statements. Magistrate Judge Schroeder issued a Report

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and Recommendation recommending denial of defendant’s various requests for

suppression. (Dkt. No. 407) No objections were filed. Upon review of the

motion, response, and the Report and Recommendation, the Court adopts the

findings and conclusions of the Magistrate Judge in their entirety. Defendant

Ortiz’s motion to suppress the photo array, photo identification and his statements

is denied.



                                     Conclusion

      For the forgoing reasons, the findings and recommendations of Magistrate

Judge Schroeder are adopted in their entirety, defendants Brittany Ground and

Alejandro Navarro-Gonzalez’s appeals are denied, and defendant David Tirado’s

motion to preclude or limit expert testimony is held in abeyance. The parties are

instructed to appear for a status conference/meeting to set a trial date on Friday,

June 19, 2015 at 12:30 p.m.6



      SO ORDERED.


                                        ____Richard J. Arcara____________
                                        HONORABLE RICHARD J. ARCARA
                                        UNITED STATES DISTRICT COURT

Dated: June 17, 2015


      6
        At that time, the Court will also address defendant Ritchie Juarbe’s motion to
dismiss counsel and appear pro se.

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